













NUMBER 13-99-00167-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________


LOA'S TIRE AND AUTO SUPPLY, INC.,	Appellant,


v.



WENDOVER FUNDING, INC. AND

NATIONAL HERITAGE LIFE INSURANCE

COMPANY IN LIQUIDATION,	Appellees.

_____________________________________________________________


On appeal from the County Court at Law No. 2


of Nueces County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Yañez, Rodriguez, and Benavides


Memorandum Opinion Per Curiam


	This appeal was abated by this Court on July 15, 1999, due to the bankruptcy of one
of the parties to this appeal.   See 11 U.S.C. § 362; see generally Tex. R. App. P. 8.  Since
the abatement there has been no activity in this appeal.  On April 16, 2009, the Court
ordered the parties to file an advisory regarding the status of the appeal and, if applicable,
a motion to reinstate the appeal or a motion to dismiss the appeal.  The order  notified the
parties that failure to respond to the order would result in reinstatement and dismissal of
the appeal for want of prosecution.  

	The parties have failed to respond.  Accordingly, we reinstate and dismiss the
appeal for want of prosecution.  See Tex. R. App. P. 42.3(b).

										PER CURIAM


Memorandum Opinion delivered and

filed this the 4th day of June, 2009. 





	


